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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


JAMES CELESTE, Individually and on            § CIVIL ACTION NO. 4:21-cv-00307-SDJ
Behalf of All Others Similarly Situated,      § [LEAD CASE]
                                              §
        Plaintiff,                            § CLASS ACTION
                                              §
        v.                                    §
                                              §
INTRUSION, INC., JACK B. BLOUNT,              §
MICHAEL L. PAXTON, B. FRANKLIN                §
BYRD, T. JOE HEAD, GARY DAVIS, and            §
JAMES GERO,                                   §
                                              §
       Defendants.
GEORGE NEELY and JOAN NEELY,                  § CIVIL ACTION NO. 4:21-cv-00374-SDJ
Individually and on Behalf of All Others      § [CONSOLIDATED]
Similarly Situated,                           §
                                              § CLASS ACTION
   Plaintiff,                                 §
                                              §
   v.                                         §
                                              §
INTRUSION, INC., JACK B. BLOUNT,              §
MICHAEL L. PAXTON, B. FRANKLIN                §
BYRD, T. JOE HEAD, GARY DAVIS, and            §
JAMES GERO,                                   §
                                              §
   Defendants.




   JOINT MOTION FOR STAY OF PROCEEDINGS PENDING THE FILING OF A
   MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
        COME NOW Lead Plaintiff Andrew Bronstein (“Lead Plaintiff”) and Defendants

Intrusion, Inc., Jack B. Blount, Michael L. Paxton, B. Franklin Byrd, T. Joe Head, Gary Davis,

and James Gero (the “Defendants”, and together with Lead Plaintiff, the “Parties”) and file this




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Joint Motion for Stay of Proceedings Pending the Filing of a Motion for Preliminary Approval of

Class Action Settlement, and in support thereof, respectfully offer and state as follows:

       The Parties engaged in a mediation on April 5, 2022, at the conclusion of which the

Parties executed a settlement term sheet setting forth the material terms associated with the

resolution of this action (the “Settlement Term Sheet”).

       In accordance with the Settlement Term Sheet, the Parties have agreed to cease all

litigation activities in this action, except those related to the negotiation of the final stipulation

and agreement of settlement and related agreements and preparation for seeking preliminary

approval of the settlement from the Court.

       The Parties further agree that a stay of proceedings while the Parties negotiate the final

stipulation and agreement of settlement and prepare for seeking preliminary approval of the

settlement would promote judicial economy, and it would be in the interest of the Parties and the

interest of justice to minimize the expenditure of judicial time and resources by resolving

administrative issues by mutual agreement where possible.

       WHEREFORE, the Parties hereby agree and jointly move the Court to enter an Agreed

Order staying proceedings in this matter pending the anticipated filing of a Motion for

Preliminary Approval of Class Action Settlement, in the form and for the reasons stated in the

attached [Proposed] Agreed Order.




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Dated: April 12, 2022                              Respectfully submitted,



/s/ Stuart L. Cochran                              /s/ Caz Hashemi
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2022, a true and correct copy of the foregoing document
was served by CM/ECF to the parties registered to the Court’s CM/ECF system.

                                                /s/ Brent J. LaPointe




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